

Matter of Richard L. (Cassandra B.) (2025 NY Slip Op 02707)





Matter of Richard L. (Cassandra B.)


2025 NY Slip Op 02707


Decided on May 2, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, OGDEN, DELCONTE, AND KEANE, JJ.


396 CAF 24-00919

[*1]IN THE MATTER OF RICHARD L. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; CASSANDRA B., RESPONDENT-APPELLANT. (APPEAL NO. 3.) 






CAITLIN M. CONNELLY, BUFFALO, FOR RESPONDENT-APPELLANT.
JAMES M. CHERNETSKY, BUFFALO, FOR PETITIONER-RESPONDENT. 
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (HANNAH WEBSTER OF COUNSEL), ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Shannon E. Filbert, J.), dated May 14, 2024, in a proceeding pursuant to Social Services Law § 384-b. The order, inter alia, terminated respondent's parental rights with respect to the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Arielle L. (Cassandra B.) ([appeal No. 1] — AD3d — [May 2, 2025] [4th Dept 2025]).
Entered: May 2, 2025
Ann Dillon Flynn
Clerk of the Court








